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eao2se (Rev. 9/00) Judgment in a Giintinel. Cade \) ZO 9 | ey
Sheet 1 . , FILED |
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: D 2007 FEB 21 BH 9:
UNITEDSTATESDISTRICT COURT | | AN 9: 16

SOU THEO DISTRICT OF CALIFORNIA CLERK US Gili eed eons
SOUTHERN DISTRICT OF CALIFORNIA SOUTHERK DISTRICT OF CALIZORSIA

UNITED STATES OF; AMERICA oeFUTXGMENT IN A CRIMINAL casey},
‘ vy, (For Offenses Committed On or After November T, 1987) — EPUTY

LESLIE L. LOVELAND (1) Case Number: 06CR2223-L
FREDERICK MATTHEW CARROLL

Defendant's Attomey
REGISTRATION NO, 00814298
- THE DEFENDANT:

[x] pleaded guilty to count(s) ONE (1) OF THE INFORMATION

O was found guilty on count(s)

after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

Count
Title & Section Nature of Offense . Number(s)
18 USC 656 THEFT, EMBEZZLEMENT, OR MISAPPLICATION BY BANK OFFICER 1

OR EMPLOYEE

The defendant is sentenced as provided in pages 2 through a of this judgment. The sentence is imposed pursuant

to the Sentencing Reform Act of 1984.

4 The defendant has been found not guilty on count(s)
‘LJ Count(s) is L.] are[_] dismissed on the motion of the United States.

[x] Assessment: $100 -

 

[x] No fine C] Property forfeited pursuant to order filed , included herein.

IT 1S ORDERED that the defendant shall notify the United States attomey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

FEBRUARY 20, 2007 y

   

ON AMA. JAMES ENZ
UNITED STATES DISTRICWJUDGE

Entered Date:
06CR2223-L

 
 

 

 

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AOQO245B —s (Rev, 9/00) Judgment in Criminal Case
Sheet 2 — Imprisonment

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- . : Judgment — Page 2 of . 5
DEFENDANT: LESLIE L. LOVELAND (1)
CASE NUMBER: 06CR2223-L

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
SIX (6) MONTHS.

oO The court makes the following recommendations to the Bureau of Prisons:

([] The defendant is remanded to the custody of the United States Marshal.

[<] The defendant shall surrender to the United States Marshal for this district:
[eJat _12:00 (NOON) Chm.  Eep.m. on _APRIL 20, 2007

as notified by the United States Marshal.

(_]The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
. 0 before

([]] as notified by the United States Marshal.
Cc) as notified by the Probation or Pretrial Services Office.

 

RETURN

‘ - [have executed this judgment as follows:

vend SLA € . 0b Zio] . . to . C\-Duldin

at Dulolin a CA , with a certified copy of this judgment. .
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UNITED STATES MARSHAL -

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By

 

06CR2223-L
 

 

 

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AQ245B (Rev. 9/00) Judgnient in 9 Criminal Case

Sheet 3 — Supervised Release

Judgment—Poge odo of

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DEFENDANT: LESLIE L. LOVELAND (1)
CASE NUMBER: 06CR2223-L

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS. .

MANDATORY CONDITIONS

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons. uO ,

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.

The defendant shall cooperate as directed in the collection of a DNA sample, pursuant to 18 USC 3583(d).
For offenses committed on or afier September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within’
15 days of release from imprisonment and at least two periodic drug tests thereafter. Testing requirements will not exceed submission
of more than 45 drug tests per month during the term of supervision, unless otherwise ordered by court.

C] The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
substance abuse.
The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. .

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay
any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in this judgment. ,

The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
with any special conditions imposed. :

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month; .

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

'$) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
other acceptable reasons; : ;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer,

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer,

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
. the permission of the court; .

_ 13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's

criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
. confirm the defendant's compliance with such notification requirement.

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AO 2458 (Rev. 9/00) Judgment in a Criminal Case
Sheet 3 — Continued 2 — Supervised Release

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Judgment—Page 4 of 23

DEFENDANT: LESLIE L. LOVELAND (1)
CASE NUMBER: 06CR2223-L

SPECIAL CONDITIONS OF SUPERVISION

[x] Not possess any firearm, explosive device or other dangerous weapon.

[x] submit to a search of person, property, residence, abode or vehicle, at a reasonable time and in a reasonable manner, by the probation officer.
CT] The defendant shall violate no laws, federal, state and local, minor traffic excepted.

0 If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion, or voluntary departure.

CO Not transport, harbor, or assist undocumented aliens.

CO Not associate with undocumented aliens or alien smugglers.

oO Not reenter the United States illegally.

[x] Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.

[x] Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

oO Not possess any narcotic drug or controlled substance without a lawful medical prescription.

[[) Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

[x] Comply with the conditions of Home confinement Program for a period of SIX (6) months and remain at your residence except
for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and

follow procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a
portion if deemed appropriate by the probation officer. ,

oO Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the
probation officer, if directed. .

oO Participate in a mental health treatment program as directed by the probation office. ,
[x] Provide complete disclosure of personal and business financial records to the probation officer as requested.
[x] Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval
of the probation officer. :
TC] Seek and maintain full time employment and/or schooling or a combination of both.

C] Resolve all outstanding warrants within days.

CO Complete hours of community service in a program approved by the probation officer within

CT Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

[x] Notify the Collections Unit of the U.S. Attomey's Office and the U.S. Probation Office, before the defendant transfers any interest
in property owned directly or indirectly by the defendant. .

oO Remain in your place of residence for a period of —. , except while working at verifiable employment,
attending religious services or undergoing medical treatment. ,
O Not engage in any form of telemarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
[x] Notify the Collections Unit of the U.S. Attorney's Office, and the U.S. Probation Office, of any interest in property obtained, directly,

or indirectly, including any interest obtained under any other name, or entity, including a trust, partnership or cooperation, until any
. fine or restitution ordered is paid in full.

[x] Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
on the defendant's ability to pay. ,

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* AQ2SS Judgment in Criminal Case

Sheet 5 — Criminal Monetary Penalties

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This sum shall be paid ____ immediately.

* as follows:

RESTITION ORDERED:

BANK OF AMERICA

RECOVERY MANAGEMENT

ATTN: DEBBIE SCHNEIDER

100 NORTH BROADWAY ~

SAINT LOUIS, MISSOURI 63102-2728
REFERENCE NO.: 20516-091607-LESLIE LOVELAND

$102,696

The Court has determined that the defendant
. a
The interest requirement is waived.

The interest is modified as follows:

 

. Judgment — Page _ of —
DEFENDANT: LESLIE L. LOVELAND (1)
CASE NUMBER: 06CR2223-L /
RESTITUTION
The defendant shall pay restitution in the amount of $102,696.00

unto the United States of America. ©

RESTITUTION

PAY RESTITUTION IN THE AMOUNT OF $102,696 THROUGH THE CLERK, U.S. DISTRICT COURT, TO THE
VICTIM LISTED BELOW, PAYABLE FORTHWITH OR THROUGH THE INMATE FINANCIAL
RESPONSIBILITY PROGRAM DURING THE PERIOD OF INCARCERATION AT THE RATE OF $20 PER
MONTH, WITH THE PAYMENT OF ANY REMAINING BALANCE TO BE MADE FOLLOWING THE
DEFENDANT'S RELEASE FROM PRISON AT THE RATE OF $200 PER MONTH. VICTIMS AND AMOUNTS OF

have the ability to pay interest. It is ordered that:

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06CR2223-L

 

 

 
